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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                                     CASE NO.:

  MONA ROUSSEL,

         Plaintiff,
  vs.

  CARNIVAL CORPORATION,

        Defendant.
  ___________________________/

                                   COMPLAINT AND JURY DEMAND

         COMES NOW the Plaintiff, MONA ROUSSEL (“Plaintiff” or “Mrs. Roussel”), by and

  through undersigned counsel, hereby sues Defendant, CARNIVAL CORPORATION

  (“CARNIVAL”), a Foreign Corporation, and alleges:

                                                  THE PARTIES

         1.        That at all times material Mrs. Roussel was a citizen and resident of the State of

  Louisiana, USA.

         2.        Defendant CARNIVAL is a Panama corporation with its principal place of

  business in Miami-Dade, Florida. At all material times, upon information and belief,

  CARNIVAL was the owner, operator or pro hac vice of the subject cruise vessel, and the

  employer of or responsible for all the shipboard personnel, including the vessel’s medical staff,

  navigational officers and employees charged with the duty to maintain shipboard equipment,

  including but not limited to automatic sliding glass doors (hereinafter “automatic doors”).

                                         JURISDICTION & VENUE

         3.        This action seeks damages that exceeds Seventy-Five Thousand ($75,000.00)

  Dollars, exclusive of costs, interest and attorney fees, and there is complete diversity between the


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  Parties hereto. Thus, this Court has diversity subject matter jurisdiction pursuant to 28 USC

  §1332.

           4.        That this Court also has admiralty subject matter initial jurisdiction pursuant to 28

  USC §1332 as the alleged negligent conduct and injury occurred on navigable waters and the

  impact of which had the potential to disrupt maritime commerce.

           5.        That at all times material the Defendant, CARNIVAL CORPORATION,

  (hereinafter “CARNIVAL”) was the owner, operator, or pro hac vice of the Vessel.

           6.        This Court has personal jurisdiction over the Defendant and venue is proper as:

                     a. CARNIVAL’S principal places of business is located within Miami-Dade

                         County, Florida; and/or

                     b. CARNIVAL conducts substantial business within the State of Florida,

                         including but not limited to operating passenger cruise vessels departing and

                         returning to ports located in Miami, and/or Tampa, Cape Canaveral, Ft.

                         Lauderdale, and Jacksonville;

                     c. CARNIVAL issued a ticket contract requiring this personal injury action be

                         filed in this Court thereby subjecting itself to this Court’s personal

                         jurisdiction.

           7.        That venue is proper in this Court under 28 U.S.C. § 1391 as Defendant has its

  principal place of business in Miami-Dade County, Florida and therefore is deemed to reside

  here and/or the cruise line ticket at issue also requires that suit be brought in this Court.

           8.        That all conditions precedent for filing and maintaining this action have been

  satisfied, waived or do not apply. Plaintiff is no longer in possession of her Cruise Ticket

  Contract, but CARNIVAL does have a copy of it.

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                                           GENERAL ALLEGATIONS

          9.         That Plaintiff entered into a contract of carriage with the Defendant for the

  purpose of a cruise aboard the CARNIVAL GLORY. The cruise embarked from New Orleans on

  March 05, 2022. While aboard the Vessel, Plaintiff occupied the status of a cruise ship

  passenger.

          10.        That Defendant, as common carrier, is engaged in the business of providing

  vacation cruises to the public aboard various vessels, including the subject Vessel. At all times

  material hereto, Defendant owned, operated, managed, maintained and/or controlled the

  CARNIVAL GLORY.

          11.        That Defendant through online, television, radio and print advertisements

  specifically market their cruises as family friendly vacations with extensive offerings and

  activities for people of all ages, abilities, and financial stature.

          12.        The incident which is the subject of this action occurred on or about March 06,

  2022, aboard the cruise ship CARNIVAL GLORY (hereinafter referred to as, “The Vessel”) while

  The Vessel was in navigable waters.

          13.        At the time of the incident, Plaintiff occupied the status of a passenger.

          14.        The Vessel was owned and/or operated and/or maintained by Defendant.

          15.        On the date alleged above, while walking through a doorway designed with a set

  of heavy automatic doors on Deck 9, the automatic doors suddenly and unexpectedly closed with

  substantial force, striking Plaintiff on the right side of her body. The impact caused Plaintiff to

  fall onto the deck.

          16.        The sliding glass doors were accessible and open to passengers and there were no

  warnings that the door was about to close.

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         17.        As a result, Plaintiff suffered an L-1 Lumbar fracture which required surgery.

  From the incident, Plaintiff was required to undergo additional physical therapy and is not at the

  same level of ability or mobility prior to the shipboard incident. Plaintiff is also experiencing

  chronic pain from the incident.

                                                     COUNT I
                                                   NEGLIGENCE

         Plaintiff readopts and alleges paragraphs one (1) through 17 as though fully set forth

  herein, and further alleges as follows:

         18.        That at all times material, CARNIVAL owed Plaintiff the duty to exercise

  reasonable care under the circumstances.

         19.        Defendant owed Plaintiff the duty of reasonable care under the circumstances for

  her safety and the duty to warn Plaintiff of all dangers it knew or should have known.

         20.        Defendant was negligent as it breached its duty by:

               a. Failing to keep the automatic door in good working order;

               b. Failing to maintain the automatic door reasonably safe for passengers;

               c. Failing to properly inspect and monitor its automatic door;

               d. Failing to properly maintain the automatic door;

               e. Having an automatic door on the Vessel capable of knocking down

                    passengers without sensors or other safety features which would stop the

                    door from closing on passengers;

               f. Having an automatic door that are dangerously calibrated to close at a rate

                    of speed that was dangerous and unsafe for normal use by pedestrian

                    traffic;


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               g. Failing to provide plaintiff with audio warnings that the automatic door

                    was about to close;

               h. Failing to ensure its crew were properly trained and instructed on the

                    maintenance and proper calibration of its automatic doors;

               i. Failing to have reasonable and appropriate policies and procedures in

                    place regarding its automatic doors;

               j. Failing to comply with its own standards and/or industry standards

                    regarding automatic doors;

               k. Selecting an automatic door that would that did not have sufficient safety

                    features thereby allowing the door to close and injure passengers;

               l. Retaining an automatic door that did not have sufficient safety features

                    thereby allowing the door to close and injure passenger; and

               m. All other negligence acts and omissions to be learned in discovery.

         21.        With regard to the alleged unsafe, dangerous or defective condition(s), policy(ies)

  or procedure(s), the Defendant:

                    a. Knew of the foregoing conditions, policies or procedures in advance of the

                        subject incident, but did not correct or warn of such, or

                    b. The foregoing conditions, policies or procedure existed for a sufficient length

                        of time so that Defendant, in the exercise of reasonable care under the

                        circumstances, should have known of such, but did not correct or warn of

                        them, or

                    c. Insofar as relates to the foregoing conditions, policies or procedures not

                        created by the Defendant, Defendant’s knowledge was or should have been

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                        acquired through (i) prior similar incident(s) and/or (ii) through its

                        maintenance, inspection and/or observation(s) of the aforesaid conditions,

                        policy(ies) or procedure(s) through shipboard personnel present at times

                        leading up to and/or at the time of the subject incident or who otherwise were

                        charged with such duties and/or (iii) through implementation of policies

                        and/or procedures intended to prevent creation of such, but did not correct or

                        warn of them, or

                    d. Insofar as relates to the foregoing conditions, policies or procedures created

                        by the Defendant, by or through a person or entity acting for or on its behalf,

                        knowledge or notice on the part of the Defendant is obviated because

                        Defendant is indirectly / vicariously liable.

         22.        Defendant had actual notice of the dangerous condition as another passenger

  spoke to Plaintiff’s travel companion after the incident and informed her that the same door hit

  her the night before Plaintiff’s incident, and she went to the infirmary for treatment as well as

  received medical treatment the following day.

         23.        Defendant had further actual notice of prior substantially similar incidents

  involving passengers being stuck by its automatic doors on one or more of its vessels including

  but not limited to the following passengers on the following dates:

                    a. Passenger Samuel Walton, August 16, 2014,

                    b. Passenger Cathie Raymond, May 13, 2016,

                    c. Passenger Patricia Dotson, August 15, 2016,

                    d. Passenger Debra Weddle, August 23, 2016, and,

                    e. Passenger Patrick Burke, November 19, 2021.

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         24.        Defendant was also aware of the unreasonably dangerous condition posed by the

  automatic sliding glass door in that it directed and/or participated in setting the sensitivity of the

  door’s sensors to a level, and selecting their placement, causing the door to become unreasonably

  dangerous to pedestrian users.

         25.        As a result of Defendant’s negligence, Plaintiff suffered bodily injury, pain and

  suffering, disability, mental anguish, loss of capacity for the enjoyment of life, medical and

  nursing care and treatment. These losses are either permanent or continuing in nature.

         WHEREFORE, Plaintiff demands judgment against Defendant in the form of all

  compensatory damages allowable under law as well as taxable court costs, prejudgment interest

  and post judgment interest.

                                                      COUNT II

                                VICARIOUS LIABILITY/ NEGLIGENCE

         Plaintiff readopts and alleges paragraphs one (1) through 17 as though fully set forth

  herein, and further alleges as follows:

         26.        That at all times material, CARNIVAL owed Plaintiff the duty to exercise

  reasonable care under the circumstances.

         27.        Defendant owed Plaintiff the duty of reasonable care under the circumstances for

  her safety and the duty to warn Plaintiff of all dangers it knew or should have known.

         28.        Defendant was negligent as it breached its duty by:

               a. Failing to properly cordon off the area and/or block access to the

                    passageway while the automatic door was malfunctioning and/or being

                    repaired;

               b. Failing to post signs warning and/or cautioning that the automatic door

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                    may slide and strike passengers;

               c. Failing to provide plaintiff with audio warnings that the automatic door

                    was about to close; and

               d. All other negligence acts and omissions to be learned in discovery.

         29.        With regard to the alleged unsafe, dangerous or defective condition(s), policy(ies)

  or procedure(s), the Defendant:

                    a. Knew of the foregoing conditions, policies or procedures in advance of the

                        subject incident, but did not correct or warn of such, or

                    b. The foregoing conditions, policies or procedure existed for a sufficient length

                        of time so that Defendant, in the exercise of reasonable care under the

                        circumstances, should have known of such, but did not correct or warn of

                        them, or

                    c. Insofar as relates to the foregoing conditions, policies or procedures not

                        created by the Defendant, Defendant’s knowledge was or should have been

                        acquired through (i) prior similar incident(s) and/or (ii) through its

                        maintenance, inspection and/or observation(s) of the aforesaid conditions,

                        policy(ies) or procedure(s) through shipboard personnel present at times

                        leading up to and/or at the time of the subject incident or who otherwise were

                        charged with such duties and/or (iii) through implementation of policies

                        and/or procedures intended to prevent creation of such, but did not correct or

                        warn of them, or

                    d. Insofar as relates to the foregoing conditions, policies or procedures created

                        by the Defendant, by or through a person or entity acting for or on its behalf,

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                        knowledge or notice on the part of the Defendant is obviated because

                        Defendant is indirectly / vicariously liable.

         30.        Defendant had actual notice of the dangerous condition as another passenger

  spoke to Plaintiff’s travel companion after the incident and informed her that the same door hit

  her the night before Plaintiff’s incident and she went to the infirmary for treatment as well as

  received medical treatment the following day.

         31.        Defendant had further actual notice of prior substantially similar incidents

  involving passengers being stuck by its automatic doors on one or more of its vessels including

  but not limited to the following passengers on the following dates:

                    a. Passenger Samuel Walton, August 16, 2014,

                    b. Passenger Cathie Raymond, May 13, 2016,

                    c. Passenger Patricia Dotson, August 15, 2016,

                    d. Passenger Debra Weddle, August 23, 2016, and,

                    e. Passenger Patrick Burke, November 19, 2021.

         32.        Defendant was also aware of the unreasonably dangerous condition posed by the

  automatic sliding glass door in that it directed and/or participated in setting the sensitivity of the

  door’s sensors to a level, and selecting their placement, causing the door to become unreasonably

  dangerous to pedestrian users.

         33.        As a result of Defendant’s negligence, Plaintiff suffered bodily injury, pain and

  suffering, disability, mental anguish, loss of capacity for the enjoyment of life, medical and

  nursing care and treatment. These losses are either permanent or continuing in nature.




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         WHEREFORE, Plaintiff demands judgment against Defendant in the form of all

  compensatory damages allowable under law as well as taxable court costs, prejudgment interest

  and post judgment interest.

                                              JURY DEMAND

     Plaintiff hereby demands trial by jury on all issues so triable.

  DATED: December 16, 2022                           BRAIS LAW FIRM
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